

ORDER

PER CURIAM:
AND NOW, this 10th day of June, 1994, Richard A. Damiani having resigned from the practice of law in the State of Ohio by Order of the Supreme Court of Ohio dated July 9, 1993; the said Richard A. Damiani having been directed on February 3, 1994, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
*1087ORDERED that Richard A. Damiani is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1800, due to the unavailability of LARSEN, J., see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
